MANDATE
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                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT

            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     28th day of August two thousand twenty-three,

     Before:        Steven J. Menashi,
                    Alison J. Nathan,
                    Sarah A. L. Merriam,
                           Circuit Judges.
     _________________________________________
      Patriarch Partners Agency Services, LLC,
      Transcendence Transit, Inc., Transcendence Transit
      II, Inc.,                                               JUDGMENT

                   Appellants,                                Docket No. 21-2576

      v.

      Salvatore LaMonica, as Chapter 7 Trustee of the
      Jointly-Administered Estates of TransCare
      Corporation, et al.,

                Trustee - Appellee.
     _________________________________________

             The appeal in the above captioned case from a judgment of the United States District
     Court for the Southern District of New York was argued on the district court’s record and the
     parties’ briefs. Upon consideration thereof,

              IT IS HEREBY ORDERED, ADJUDGED and DECREED that the judgments of the
     district court and the bankruptcy court are AFFIRMED.

                                                           For the Court:
                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 11/08/2023
